                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-CV-861-FDW-DCK

 BUBAN FRU GWENDOLINE,                              )
                                                    )
                 Plaintiff,                         )                  ORDER
                                                    )
    v.                                              )
                                                    )
 ALEJANDRO MAYORKAS, and                            )
 UR MENDOZA JADDOU,                                 )
                                                    )
                 Defendants.                        )
                                                    )

         THIS MATTER IS BEFORE THE COURT on the “Consent Motion For Stay”

(Document No. 11) filed December 12, 2024. This matter has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C §636(b) and immediate review is appropriate. Having

carefully considered the motion, the record, and the applicable authority, and noting the parties’

agreement, the undersigned will grant the motion.

         By the instant motion, Defendants request that this matter be stayed pending resolution of

Plaintiff’s asylum interview. (Document No. 11). Plaintiff’s asylum interview is currently

scheduled for January 10, 2025. Id. Defendants request a stay of one hundred twenty (120) days

from Plaintiff’s currently scheduled asylum interview date “to consider Plaintiff’s application and

ultimately determine how to proceed in this case.” Id.

         IT IS, THEREFORE, ORDERED that the “Consent Motion For Stay” (Document No.

11) is GRANTED. This matter is STAYED through May 12, 2025. The parties shall file a

Stipulation of Dismissal or a Joint Status Report by May 16, 2025.

         SO ORDERED.              Signed: December 17, 2024




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